       Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 1 of 46




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

STEPHEN BUSHANSKY, on Behalf of              §
Himself and All Others Similarly Situated,   §
                                             §   CIVIL ACTION NO. 4:12-cv-02257
                      Plaintiff,             §
                                             §
v.                                           §
                                             §
GENON ENERGY, INC., EDWARD R.                §
MULLER, E. SPENCER ABRAHAM,                  §
TERRY G. DALLAS, THOMAS H.                   §
JOHNSON, STEVEN L. MILLER,                   §
ELIZABETH A. MOLER, ROBERT C.                §
MURRAY, LAREE E. PEREZ, EVAN J.              §
SILVERSTEIN, WILLIAM L. THACKER,             §
NRG ENERGY, INC., and PLUS MERGER            §
CORPORATION,                                 §
                                             §
                      Defendants.            §




       FIRST AMENDED COMPLAINT FOR VIOLATIONS OF § 14(a) AND § 20(a)
          OF THE SECURITIES EXCHANGE ACT OF 1934 AND RULE 14a-9
             OF THE U.S. SECURITIES AND EXCHANGE COMMISSION
                   PROMULGATED THEREUNDER AND FOR
     BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
     Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 2 of 46




                                PRELIMINARY STATEMENT

       1.      This is a shareholder class action brought by Plaintiff Stephen Bushansky

(“Plaintiff”) on behalf of himself and all other public shareholders of GenOn Energy, Inc.

(“GenOn” or the “Company”), against the Company, GenOn’s board of directors (collectively,

as identified below, the “Board” or the “Individual Defendants”), and NRG Energy, Inc.

(“NRG”), and its wholly owned subsidiary Plus Merger Corporation (“Merger Sub”), in

connection with the proposed acquisition of the Company by NRG (the “Proposed Transaction”).

Plaintiff seeks equitable relief for the Board’s breaches of fiduciary duties arising out of their

ongoing efforts to sell the Company to NRG for inadequate consideration, via a non-existent

sales process, and through a materially misleading registration statement. Additionally, Plaintiff,

individually, brings a claim against Defendants for their violations of Sections 14(a) and 20(a) of

the Securities Exchange Act of 1934 (the “Exchange Act”) and U.S. Securities and Exchange

Commission (“SEC”) Rule 14a-9 promulgated thereunder (“Rule 14a-9”).

       2.      On July 20, 2012, GenOn, NRG, and Merger Sub, entered into a definitive

Agreement and Plan of Merger (the “Merger Agreement”) pursuant to which NRG would

acquire GenOn in an all-stock deal with a total value of approximately $1.7 billion. Under the

terms of the Merger Agreement, for each share of GenOn common stock, shareholders will

receive 0.1216 of a share of NRG common stock (the “Exchange Ratio”). Defendants expect to

close the Proposed Transaction during the first quarter of 2013.

       3.      As described below, the Proposed Transaction is patently opportunistic and does

not reflect the intrinsic value of GenOn as a takeover candidate, particularly in light of its

position as one of the United States’ largest competitive generators of wholesale electricity.
     Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 3 of 46




       4.      The Company is poised for continued long-term growth, having recently

successfully completed the integration of Mirant Corporation (“Mirant”) and RRI Energy, Inc.

(“RRI”), whose merger formed GenOn in December 2010.

       5.      The Proposed Transaction was driven by GenOn’s management, particularly its

Chairman, President, and Chief Executive Officer (“CEO”), Edward R. Muller (“Muller”), who

had attempted to acquire NRG in 2006 when he headed GenOn’s predecessor, Mirant.

       6.      As discussed below, the Individual Defendants failed to exercise their fiduciary

duties and entered into the Merger Agreement prior to conducting an adequate sales process or

engaging in any kind of market check. Additionally, the Board failed to ever consider forming a

special committee comprised of independent directors to explore potential strategic transactions,

including the sale of the Company. Indeed, the Board entirely abdicated its role in the sales

process and rubber stamped Muller’s decision to work out a deal exclusively with NRG without

considering any other potential buyers.

       7.      Rather than act in the best interest of the Company’s shareholders, the Individual

Defendants unanimously approved the Merger Agreement and entered into the Proposed

Transaction in order to secure significant benefits for themselves and other key Company

insiders at the expense of the Company’s public shareholders.

       8.      GenOn’s Board and management were incentivized to capitalize on a sale to NRG

over any other potential buyers or strategic options because insiders were able to secure

opportunities in the post-merger entity. Indeed, Muller and his fellow insiders engaged in self-

serving negotiations concerning their respective futures at the combined entity from at least

June 26, 2012, onward, well before GenOn had concluded negotiations concerning the principal

terms of a sales agreement with NRG. Indeed, on July 11, 2012, the parties expressly agreed that




                                               2
     Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 4 of 46




after the consummation of the Proposed Transaction, four out of the ten directors currently

sitting on the Board would be appointed to the enlarged post-merger NRG board of directors,

including the appointment of Muller as its Vice Chairman. In addition, the parties agreed that, at

the closing of the Proposed Transaction, NRG would appoint GenOn’s Senior Vice President of

Asset Management, Anne M. Cleary (“Cleary”), as its Chief Integration Officer, and GenOn’s

Senior Vice President and Chief Commercial Officer, Robert J. Gaudette (“Gaudette”), as its

Senior Vice President, Product Development and Origination.

       9.      In addition, GenOn’s directors and officers hold millions of dollars in Company

stock options and restricted stock units (“RSUs”) that will accelerate and vest solely by reason of

the closing of the Proposed Transaction (the “Single-Trigger Accelerated Interests”). Muller’s

Single-Trigger Accelerated Interests are valued at approximately $1.4 million based upon the

assumption that the fair market value of NRG stock at the time of conversion will equal $19.33

per share (however, these interests will likely be valued much higher as NRG stock has

consistently been trading above $20.00 per share since August 10, 2012 – hitting a recent post-

deal announcement high of $22.92 per share on August 21, 2012).

       10.     Certain officers of the Company, including Muller, will also be entitled to

additional accelerated vesting of options and RSUs upon qualifying termination of employment

within two years following the consummation of the Proposed Transaction (the “Double-Trigger

Accelerated Interests”).     Muller’s Double-Trigger Accelerated Interests are valued at

approximately $2.4 million based upon the assumption that, at the time of conversion, the fair

market value of NRG stock will equal $19.33 per share (but the value of these interests is likely

to be much higher in light of the recent trading price of NRG stock).




                                                3
     Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 5 of 46




       11.     Further, GenOn officers will also be entitled to certain change-in-control benefits

either under their respective employment agreements or the GenOn Change-in-Control

Severance Plan. Notably, Muller may receive benefits worth over $15 million in total as “golden

parachute” compensation, notwithstanding his appointment as the Vice Chairman of the post-

merger NRG.

       12.     Despite failing to conduct any kind of sales process or market check, the Board

acceded to NRG’s demands to ensure that no other potential bidders would emerge to top NRG’s

offer and locked up the deal with onerous deal protection devices that effectively eliminate any

potential auction process, including: (i) a “no solicitation” provision barring the Board and any

Company personnel from attempting to procure a price in excess of the amount offered by NRG;

(ii) a requirement that the Company provide NRG with written notice within 24 hours of its

receipt of an unsolicited offer from another party, (iii) a “last-look” provision allowing NRG four

business days to top any superior proposal made by another potential acquirer; and

(iv) imposition of an exorbitant termination fee of $60 million on GenOn payable to NRG in

certain circumstances, including if the GenOn Board terminates the Merger Agreement or

changes its recommendation to shareholders in order to pursue an alternative superior proposal.

       13.     In an effort to secure shareholder support for the unfair Proposed Transaction,

GenOn and NRG filed a preliminary Form S-4 Registration Statement and joint proxy/prospectus

(the “Preliminary Proxy”) with the SEC on August 15, 2012. The Preliminary Proxy outlines the

Proposed Transaction, and recommends that the public shareholders of GenOn vote in favor of

the Proposed Transaction and approve the Merger Agreement, in breach of the Individual

Defendants’ fiduciary duties to the Company’s shareholders both with respect to price and

process.




                                                4
     Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 6 of 46




       14.     The Preliminary Proxy misstates and/or omits material information regarding,

inter alia, the Proposed Transaction, the process leading up to the Merger Agreement (including

the Board’s consideration and pursuit of various strategic alternatives and other possible buyers)

and key inputs and underlying assumptions relied upon by GenOn’s financial advisor, J.P.

Morgan Securities LLC (“JP Morgan”), as well as NRG’s financial advisors, Credit Suisse

Securities (USA) LLC (“Credit Suisse”) and Morgan Stanley & Co. LLC (“Morgan Stanley”), in

performing their respective financial and valuation analyses of the Company. Defendants have

violated Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9 promulgated thereunder,

by omitting material facts necessary to render the Preliminary Proxy non-misleading.

Defendants have also breached their fiduciary duty of candor by failing to disclose material

information concerning the Proposed Transaction. As a result of the materially misleading

Preliminary Proxy, Plaintiff and GenOn’s other public shareholders have been stripped of their

ability to render an informed decision as to whether to vote their shares in favor of the Proposed

Transaction.

       15.     As a result of the nonexistent, thus inherently flawed, sales process and the

coercive deal protection devices, the Proposed transaction is a fait accompli, and absent

intervention of the Court, the Company’s minority shareholders will have no say in this contest

for corporate control.

       16.     The Individual Defendants’ conduct constitutes a breach of their fiduciary duties

of loyalty, due care, independence, good faith and fair dealing owed to Plaintiff and GenOn’s

public shareholders, and a violation of applicable legal standards governing their conduct. As set

forth herein, Plaintiff seeks to enjoin Defendants from pursuing the Proposed Transaction or, in




                                                5
     Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 7 of 46




the event the Proposed Transaction is consummated, recover damages resulting from

Defendants’ wrongful conduct.

                                 JURISDICTION AND VENUE

          17.   This Court has subject matter jurisdiction over all claims pursuant to Section 27

of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331. The claims asserted herein arise

under Sections 14(a) and 20(a) of the Exchange Act, 15 U.S.C. § 78n(a) and Rule 14a-9

promulgated thereunder, as well as under Delaware common law. The court has jurisdiction

over the state law claims pursuant to 28 U.S.C. § 1367.

          18.   In addition, this Court has subject matter jurisdiction pursuant to diversity of the

parties. Every issue of law and fact in this action is wholly between citizens of different states.

Plaintiff is, and was at all times hereinafter mentioned, domiciled in, and a citizen of, the state of

New York.

          19.   GenOn is a corporation duly organized, incorporated and existing under the laws

of the state of Delaware and its principle place of business is in Houston, Texas. None of the

Individual Defendants (identified below) are citizens of the state of New York. Defendant NRG

was, and is now, a corporation duly organized, incorporated and existing under the laws of the

state of Delaware and its principle place of business is in Princeton, New Jersey. Defendant

Merger Sub is a corporation duly organized, incorporated and existing under the laws of the state

of Delaware and is a wholly owned subsidiary of NRG.

          20.   Plaintiff sues for damages in excess of $75,000 (exclusive of interest, fees and

costs).

          21.   Venue is proper in this District because many of the acts and practices

complained of herein occurred in substantial part in this District, including the dissemination of




                                                  6
     Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 8 of 46




the materially misleading statements and omissions alleged herein. Defendant GenOn was, and

is now, headquartered in Houston, Texas.

                                         THE PARTIES

       22.     Plaintiff Stephen Bushansky, a domicile of the State of New York, is, and has

been at all relevant times hereto, the owner of shares of the common stock of GenOn.

       23.     GenOn, a Delaware corporation, is a leading independent power producer in the

United States. The Company has approximately 23,700 megawatts (“MW”) of net electric

generating capacity located near several major metropolitan load centers throughout the United

States. GenOn’s corporate headquarters is located at 1000 Main Street, Houston, Texas. GenOn

was formed in December 2010 through the merger of Mirant and RRI. Since its formation, its

common stock has traded on the New York Stock Exchange (“NYSE”) under the symbol

“GEN.”

       24.     Defendant NRG, a Delaware corporation and Fortune 500 company, is an

integrated wholesale power generation and retail electricity company with three business sectors:

(i) its wholesale power generator is engaged in the ownership and operation of power generation

facilities; the trading of energy, capacity and related products; and the transacting in and trading

of fuel and transportation services; (ii) its retail electricity business is engaged in the supply of

electricity, energy services, and cleaner energy products to retail electricity customers in

deregulated markets through Reliant Energy, Green Mountain Energy, and Energy Plus; and

(iii) its alternative energy sector invests in and develops new technologies that NRG believes will

bring significant commercial opportunities. Its corporate headquarters is located at 211 Carnegie

Center, Princeton, New Jersey. Its common stock is traded on the NYSE under the symbol

“NRG.” All references herein to “NRG” also include Defendant Merger Sub.




                                                 7
     Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 9 of 46




       25.    Defendant Merger Sub, a Delaware corporation, is a wholly-owned subsidiary of

NRG and a party to the Merger Agreement.

       26.    Defendant Muller, a domicile of the State of Texas, is and has been GenOn’s

Chairman, President, and Chief Executive Officer (“CEO”) since December 2010. Prior to this,

Muller served as chairman, president, and CEO of Mirant since 2000.         According to the

Preliminary Proxy, Muller holds 4,101,102 exercisable options, which will be worth millions

upon the consummation of the Proposed Transaction. In addition, he holds 496,428 options and

597,984 RSUs, which are subject to accelerated vesting upon the completion of the Proposed

Transaction. Further, he will be entitled to receive “golden parachute” compensation valued at

approximately $15.4 million, according to the Preliminary Proxy, which include an additional

1,166,823 options and 1,023,362 RSUs subject to accelerated vesting, if his employment is

terminated within two years following the completion of the Proposed Transaction –

notwithstanding his appointment as Vice Chairman of the post-merger NRG Board.

       27.    Defendant E. Spencer Abraham (“Abraham”), a domicile of the Commonwealth

of Virginia, has served on the GenOn Board since January 2012.

       28.    Defendant Terry G. Dallas (“Dallas”), a domicile of the State of California, has

served on the GenOn Board since December 2010. He serves as a member of the Board’s Audit

Committee and Risk and Finance Oversight Committee.

       29.    Defendant Thomas H. Johnson (“Johnson”), a domicile of the State of Georgia,

has served on the GenOn Board since December 2010. He serves as a member of the Board’s

Compensation Committee and Risk and Finance Oversight Committee.




                                              8
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 10 of 46




       30.      Defendant Steven L. Miller (“Miller”), a domicile of the State of Texas, has

served on the GenOn Board since August 2003. He serves as Chairperson of the Board’s

Nominating and Governance Committee, and is a member of the Compensation Committee.

       31.      Defendant Elizabeth A. Moler (“Moler”), a domicile of the Commonwealth of

Virginia, has served on the GenOn Board since January 2012.

       32.      Defendant Robert C. Murray (“Murray”), a domicile of the State of Rhode Island,

has served on the GenOn Board since December 2010. He serves as Chairperson of the Board’s

Audit Committee, and is a member of the Nominating and Governance Committee. Murray had

previously served on Mirant’s board of directors since 2006.

       33.      Defendant Laree E. Perez (“Perez”), a domicile of the State of New Mexico, has

served on the GenOn Board since April 2002. She serves as a member of the Board’s Audit

Committee and Risk and Finance Oversight Committee.

       34.      Defendant Evan J. Silverstein (“Silverstein”), a domicile of the State of Florida,

has served on the GenOn Board since August 2006. He serves as Chairperson of the Board’s

Risk and Finance Oversight Committee, and is a member of the Audit Committee.

       35.      Defendant William L. Thacker (“Thacker”), a domicile of the State of Texas, has

served on the GenOn Board since December 2010. He serves as Chairperson of the Board’s

Compensation Committee.

       36.      Defendants Muller, Abraham, Dallas, Johnson, Miller, Moler, Murray, Perez,

Silverstein, and Thacker are collectively referred to herein as the “Individual Defendants” or the

“Board,” which, together with GenOn and NRG are collectively referred to herein as

“Defendants.”




                                                9
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 11 of 46




                                CLASS ACTION ALLEGATIONS

       37.     Plaintiff brings this action individually and on behalf of all owners of the common

stock of GenOn, and their successors in interest, who have been and will be harmed by the

wrongful conduct of Defendants as alleged herein (the “Class”). The Class excludes Defendants

and any person, firm, trust, corporation or other entity related to, affiliated with, or controlled by

any of the Defendants, as well as the immediate families of the Individual Defendants.

       38.     This action is properly maintainable as a class action.

       39.     The Class is so numerous that joinder of all members is impracticable. According

to the Preliminary Proxy, as of August 10, 2012, the total number of issued and outstanding

shares of GenOn common stock was approximately 772.9 million. Members of the Class are

scattered throughout the United States and are so numerous that it is impracticable to bring them

all before this Court.

       40.     Questions of law and fact exist that are common to the Class and predominate

over questions affecting any individual Class member, including, among others:

               (a)       whether the Individual Defendants have fulfilled and are capable of

       fulfilling their fiduciary duties owed to Plaintiff and the Class, including, but not limited

       to, the duties of undivided loyalty, independence, due care, honesty, good faith, diligence,

       candor, and fair dealing;

               (b)       whether the Individual Defendants have breached their fiduciary duty to

       secure and obtain the best price reasonable under the circumstances for the benefit of

       Plaintiff and other Class members;




                                                 10
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 12 of 46




               (c)        whether Plaintiff and the other members of the Class will be irreparably

       damaged if Defendants are not enjoined from continuing the conduct described herein, or

       alternatively, whether they have suffered compensable damages;

               (d)        whether the Individual Defendants are engaging in self-dealing in

       connection with the Proposed Transaction;

               (e)        whether the Individual Defendants are unjustly enriching themselves and

       other insiders or affiliates of GenOn;

               (f)        whether the Individual Defendants, in bad faith or for improper motives,

       have impeded or erected barriers to discourage other offers for the Company or its assets;

               (g)        whether Defendants aided and abetted the Individual Defendants’ breaches

       of fiduciary duties, including, but not limited to, undivided loyalty, independence, due

       care, honesty, good faith, diligence, candor, and fair dealing with respect to Plaintiff and

       the Class as a result of the conduct alleged herein;

               (h)        whether Defendants have failed to provide all material information to

       shareholders in connection with the Proposed Transaction;

               (i)        whether the consideration payable to Plaintiff and the Class under the

       Proposed Transaction is unfair and inadequate; and

               (j)        whether Plaintiff and the Class are entitled to injunctive relief, damages,

       or other relief.

       41.     Plaintiff is committed to prosecuting this action and has retained competent

counsel experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the

other members of the Class and Plaintiff has the same interests as the other members of the




                                                   11
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 13 of 46




Class. Accordingly, Plaintiff is an adequate representative of the Class and will fairly and

adequately protect the interests of the Class.

        42.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications with respect to individual members of the

Class, which would establish incompatible standards of conduct for Defendants, or adjudications

with respect to individual members of the Class which would, as a practical matter, be

dispositive of the interests of the other members not parties to the adjudications or substantially

impair or impede their ability to protect their interests.

        43.     Preliminary and final injunctive relief on behalf of the Class as a whole is entirely

appropriate because Defendants have acted, or refused to act, on grounds generally applicable

and causing injury to the Class.

               THE FIDUCIARY DUTIES OF INDIVIDUAL DEFENDANTS

        44.     By reason of the Individual Defendants’ positions with the Company as officers

and/or directors, they are in a fiduciary relationship with Plaintiff and the other public

shareholders of GenOn and owe them unwavering duties of good faith, fair dealing, undivided

loyalty, and full and candid disclosure.

        45.     In a situation where the directors of a publicly traded company undertake a

transaction that may result in a change in corporate control, a break-up of the corporation’s

assets, or a sale of the company, the directors must take all steps to obtain the highest value

reasonably available for the corporation’s shareholders, and disclose all material information

concerning the proposed transaction to enable the shareholders to make an informed voting

decision. To diligently comply with this duty, as directors of GenOn, the Individual Defendants

have fiduciary obligations to:




                                                  12
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 14 of 46




               (a)     undertake an appropriate evaluation of GenOn’s net worth as a

       merger/acquisition candidate;

               (b)     act independently to protect the interests of the Company’s public

       shareholders;

               (c)     adequately ensure that no conflicts of interest exist between the Individual

       Defendants’ own interests and their fiduciary obligations, and, if such conflicts exist, to

       ensure that all conflicts are resolved in the best interests of GenOn’s public shareholders;

       and

               (d)     actively evaluate the Proposed Transaction and engage in a meaningful

       auction with third parties in an attempt to obtain the best value on any sale of GenOn.

       46.     Likewise, when undertaking a change of control, break-up, or sales transaction,

the Independent Directors may not take any action that:

               (a)     adversely affects the value provided to the corporation’s shareholders;

               (b)     contractually prohibits them from complying with or carrying out their

       fiduciary duties;

               (c)     discourages or inhibits alternative offers to purchase control of the

       corporation or its assets; or

               (d)     will otherwise adversely affect their duty to search for and secure the best

       value reasonably available under the circumstances for the corporation’s shareholders.

       47.     Plaintiff alleges herein that the Individual Defendants, separately and together, in

connection with the Proposed Transaction, violated their duties owed to Plaintiff and the other

public shareholders of GenOn and have failed to provide shareholders with all information

necessary to make an informed decision in connection with the Proposed Transaction. As a




                                                13
       Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 15 of 46




result of the Individual Defendants’ divided loyalties, neither Plaintiff nor the Class will receive

adequate or fair value for their GenOn common stock in the Proposed Transaction.

          48.   Because the Individual Defendants are knowingly or recklessly breaching their

duties of loyalty, good faith, and independence in connection with the Proposed Transaction, the

burden of proving the inherent or entire fairness of the Proposed Transaction, including all

aspects of its negotiation, structure, price and terms, is placed upon Defendants, as a matter of

law.

          CONSPIRACY, AIDING AND ABBETTING, AND CONCERTED ACTION

          49.   In committing the wrongful acts alleged herein, Defendants have pursued, or

joined in the pursuit of, a common course of conduct, and acted in concert with and conspired

with one another, in furtherance of their common plan or design. In addition to the wrongful

conduct herein alleged as giving rise to primary liability, Defendants further aided and abetted

and/or assisted each other in breach of their respective duties as herein alleged.

          50.   Each Defendant herein aided and abetted and rendered substantial assistance in

the wrongs complained of herein. In taking such actions as particularized herein, to substantially

assist the commission of the wrongdoing complained of, each Defendant acted with knowledge

of the primary wrongdoing, substantially assisted the accomplishment of that wrongdoing, and

was aware of his or her overall contribution to, and furtherance of, the wrongdoing. Defendants’

acts of aiding and abetting, included the acts each of them are alleged to have committed in

furtherance of the conspiracy, common enterprise and common course of conduct complained of

herein.




                                                 14
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 16 of 46




                                SUBSTANTIVE ALLEGATIONS

                  GenOn’s Prospects for Long-Term Growth Are Excellent

       51.     The Proposed Transaction does not reflect the value of GenOn’s financial strength

in the price being paid to its shareholders. The Company’s long-term prospects are good and it is

positioned for future growth.

       52.     According to GenOn’s February 29, 2012 press release reporting the results of its

fiscal year ended on December 31, 2011, since the Company’s formation through a merger of

Mirant and RRI in December 2010, it has successfully integrated and achieved $160 million in

annual cost savings.

       53.     In its May 10, 2012 press release reporting GenOn’s results for its 2012 first

quarter ended March 31, 2012, the Company raised its adjusted EBITDA guidance from $440

million to $446 million for 2012, and from $665 million to $669 million for 2013. At the

earnings conference call held on May 10, 2012, Muller noted that, according to one of the key

metrics used by the Company to judge its performance, the Total Margin Capture Factor

(“TMCF”), which measures the percentage earned of the gross margin that could have been

earned, GenOn achieved a “TMCF of 93% in the first quarter, which is very good.” Muller also

pointed out that the Company’s safety performance and environmental performance were “very

good” – suffering few OSHA reportable incidents and few environmental incidents, particularly

as compared with industry statistics.

       54.     However, GenOn stock has recently been experiencing a downward trend,

plummeting approximately 56% from its pre-deal 52-week high of $4.10 per share on July 26,

2012, to a closing price of $1.82 per share on July 20, 2012, the pre-announcement trading day.

Rather than permit the stock to recover and GenOn shareholders to gain from the long-term

prospects, the Individual Defendants have approved a deal that provides NRG with an


                                               15
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 17 of 46




opportunity to benefit from the successful integration of the Company’s December 2010 merger

but does not provide GenOn shareholders with adequate consideration.

                                The Insufficient Sales Process

       55.    GenOn and NRG, through their predecessors, have a long history. For example,

in 2006, Defendant Muller led Mirant, GenOn’s predecessor, in making an unsuccessful hostile

takeover bid to buy NRG for $7.9 billion. Later, in May 2009, NRG acquired its Texas retail

electricity business from GenOn’s predecessor, Reliant Energy.

       56.    Given this long history, GenOn’s Board and management favored a deal with

NRG from the outset. Without informing GenOn shareholders as to whether any efforts were

made to assess the qualifications of other potential partners for a business combination or the

Board’s rationale for determining to focus exclusively on accomplishing a deal with NRG, the

Preliminary Proxy states that “[b]y March 2012, a potential business combination with NRG was

viewed as the most realistic business combination transaction that was achievable consistent with

the criteria discussed by the GenOn Board.”

       57.    On April 13, 2012, Defendant Muller telephoned NRG’s President and CEO,

David Crane (“Crane”), to indicate GenOn’s interest in exploring a potential business

combination between the two companies. The two agreed to meet in mid-May.

       58.    According to the Preliminary Proxy, following the April 13th conversation, “the

management of each of NRG and GenOn conducted reviews of the business and financial

condition of the other company based on . . . publicly available information regarding the other

company.”     In addition, GenOn retained Skadden, Arps, Slate, Meagher & Flom LLP

(“Skadden”) as its legal advisor in connection with a potential transaction with NRG.




                                               16
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 18 of 46




       59.     The Board’s input in this deal was minimal. Indeed, Defendant Muller waited

until April 25, 2012, nearly two weeks after his conversation with NRG, to inform GenOn’s lead

director Miller of that conversation and of the planned meeting with Crane set for May 15, 2012.

Additionally, Defendant Muller waited another two weeks, until the May 9, 2012 Board meeting,

to inform the full GenOn Board, of what was discussed on April 13th and the meeting with NRG

scheduled for mid-May.

       60.     On May 15, 2012, representatives from the management of GenOn and NRG met

to discuss the strategic rationale for a potential business combination between the two companies

and potential synergies that might be derived. The parties decided to enter into a confidentiality

agreement and exchange certain nonpublic financial information as part of an initial phase of due

diligence, which would primarily focus on confirming potential synergies of a business

combination and assessing the relative value of the two companies.

       61.     On May 22, 2012, NRG and GenOn entered into a mutual confidentiality

agreement that contained a customary standstill provision.        Thereafter, the two companies

conducted due diligence of each other, which included several meetings in June 2012 where the

two exchanged financial information and engaged in “extensive discussions regarding

anticipated synergies, treatment of existing debt, integration matters and other aspects of the

potential transaction.”

       62.     On June 18, 2012, nearly two months after Defendant Muller contacted Crane to

discuss a possible combination, GenOn retained JP Morgan as its financial advisor in connection

with the proposed transaction. Also, on June 29, 2012, GenOn retained Talisman International

(“Talisman”), a nuclear consulting firm, to assist in due diligence with respect to NRG’s

ownership in a two reactor unit nuclear generating facility (a.k.a. the “South Texas Project”).




                                                17
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 19 of 46




       63.     On June 19, 2012, representatives of NRG and GenOn met and discussed, inter

alia, for the first time, their respective views on valuation and potential governance structures for

the combined company.

       64.     At the June 21, 2012 special meeting of the Board, the Board discussed the status

of discussions with NRG with senior management and, inter alia, approved the engagement of

JP Morgan as GenOn’s financial advisor.

       65.     Beginning on or about June 25, 2012, GenOn and NRG conducted a more in-

depth business, financial, and legal due diligence, with each party providing the other with

access to non-public information regarding their respective businesses. In addition, the parties

and their respective legal advisors engaged in a series of negotiations concerning the terms of the

merger agreement.

       66.     On June 26, 2012, representatives of NRG and GenOn discussed the potential

structure and composition of the board of directors of the combined company, including the

possibility that Defendant Muller would serve as its vice chairman.

       67.     On July 11, 2012, before concluding negotiations as to the principal terms of the

merger agreement, including the exchange ratio, the parties agreed that following the

consummation of the merger, the NRG board would be composed of 16 directors, consisting of

12 NRG directors and four GenOn directors, including Defendant Muller who would be

appointed as vice chairman. The parties further agreed to wait until after the execution of the

definitive merger agreement to determine the specific GenOn directors who would join the post-

merger NRG board.




                                                 18
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 20 of 46




          68.   On July 13, 2012, GenOn and NRG agreed that the exchange ratio would be

determined based on the average closing prices of NRG stock and GenOn stock during the 10

and 20 trading day period ending July 18, 2012.

          69.   On July 18, 2012, Crane and Muller agreed to seek the approval of their

respective boards based on an exchange ratio of 0.1216.

          70.   Also on July 18, 2012, members of GenOn’s and NRG’s respective management

further discussed the structure and composition of the board of directors of the combined

company.

          71.   On July 20, 2012, after discussing the Proposed Transaction with its advisors,

including considering JP Morgan’s fairness opinion, the GenOn Board unanimously approved

the Merger Agreement and the transactions contemplated therein. The NRG Board approved the

Merger Agreement on the same day.

         The Proposed Transaction and Merger Consideration Is Inadequate and Unfair

          72.   On July 20, 2012, following the approvals by the Board and the NRG Board, the

parties executed the Merger Agreement after the market closed.        Pursuant to the Merger

Agreement, NRG will acquire all of the outstanding shares of GenOn in a deal with a total value

of approximately $1.7 billion. Under the terms of the Merger Agreement, GenOn shareholders

will receive 0.1216 shares of NRG common stock in exchange for each GenOn share of common

stock.

          73.   Upon the consummation of the Proposed Transaction, Merger Sub will merge

with and into GenOn, at which time the separate corporate existence of Merger Sub will

terminate, with GenOn surviving and continuing its corporate existence under Delaware law as a

direct wholly-owned subsidiary of NRG.




                                              19
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 21 of 46




       74.     GenOn’s Board has unanimously approved the Merger Agreement. The Proposed

Transaction is expected to close in the first quarter of 2013, subject to customary closing

conditions and regulatory approvals, including the approval of the shareholders of both GenOn

and NRG, the Federal Energy Regulatory Commission (FERC), the New York Public Service

Commission and the Public Utility Commission of Texas.

       75.     On July 22, 2012, NRG and GenOn issued a joint press release announcing the

Proposed Transaction. In relevant part, the press release states:

       PRINCETON, NJ and HOUSTON, TX; July 22, 2012 — NRG Energy, Inc.
       (NYSE: NRG) and GenOn Energy, Inc. (NYSE: GEN) today announced they
       have signed a definitive agreement to combine the two companies in a stock-for-
       stock tax-free transaction, creating the largest competitive generator in the United
       States with a diverse fleet of approximately 47,000 megawatts (MW) with asset
       concentrations in the East, Gulf Coast and West and a combined enterprise value
       of $18 billion.

       “This combination ushers in a new era of scale, scope, and market and fuel
       diversification in the competitive power industry,” said NRG President and CEO
       David Crane, who will continue his present positions with the combined
       company. “The greater depth and breadth gained through the combination with
       GenOn will put NRG in a uniquely strong position to fulfill the needs of
       American energy consumers in the 21st century.”

       The transaction will enhance annual combined company EBITDA by $200
       million by 2014 by realizing cost and operational efficiency synergies. In
       addition, the transaction will enable the combined company to reduce its interest
       and liquidity costs, and realize other balance sheet efficiencies, in aggregate, of
       $100 million per year. As a result, total recurring FCF benefits generated by this
       transaction will be approximately $300 million per year.

       “This combination will deliver immediate value to the shareholders of both
       companies who will benefit from the combined company’s merger synergies,
       balance sheet efficiencies, increased scale and additional geographic diversity,”
       said GenOn Chairman and CEO, Edward R. Muller, who will join the NRG Board
       of Directors as Vice Chairman. “NRG and GenOn are a great fit geographically
       and operationally and we look forward to working together to capture efficiencies
       from the scale associated with the transaction to deliver enhanced value to our
       investors.”




                                                20
Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 22 of 46




  Strategic & Financial Benefits

        •      Diversification and scale

        The combined company, which will retain the name NRG Energy, will
        become the largest competitive power generation company in America
        with approximately 47,000 MW of fossil fuel, nuclear, solar and wind
        capacity across the merit order, situated almost entirely in the three
        premier competitive energy markets in the U.S. The combined fleet
        generates more than 104 terawatt-hours (TWh) of electricity annually.

        •      Expected Synergies

        Transaction benefits will result in at least $200 million per year in
        incremental EBITDA and, combined with $100 million of balance sheet
        efficiencies, will result in at least $300 million of additional FCF by 2014,
        the first full year of combined operations. The $200 million per year
        breaks down into $175 million per year in cost synergies, principally
        resulting from reduced G&A expenses, and $25 million per year of
        operational efficiency synergies under NRG’s FORNRG program. In
        addition, as a result of interest savings and reduced liquidity and collateral
        requirements, the combined company will realize an additional $100
        million in reduced interest expense and collateral benefits. The transaction
        costs and total cash “cost to achieve” the synergies and other cash flow
        benefits will primarily be incurred during 2013 and are estimated at
        approximately $200 million.

        •      Immediately and substantially accretive

        The transaction will be immediately accretive on an EBITDA basis and
        substantially accretive in 2014, the first full year of operation, to both
        EBITDA and FCF before growth investments.

        •      Enables expanded wholesale-retail model

        An expanded core generation fleet will enable the combined company to
        duplicate in multiple core markets (principally in the East) NRG’s
        successful integrated wholesale-retail business model in ERCOT—the
        best business model across the price cycle, in an industry that is subject to
        commodity price volatility.

        •      Dividend

        This transaction will reinforce the ability to pay the 9 cents per share
        quarterly dividend (36 cents per share on an annual basis) previously
        announced by NRG for the benefit of both companies’ shareholders.




                                         21
     Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 23 of 46




                 •       Balance sheet and credit metric enhancing

                 Balance sheets efficiencies will permit the combined company to reduce
                 indebtedness by at least $1 billion and enhancements to corporate
                 EBITDA and funds from operations (FFO) significantly improve key
                 credit metrics, including:


                                 2014 NRG Standalone (1)                        2014 NRG Pro Forma (1)
Corporate
   Debt/Corporate
   EBITDA                         4.6x                                                                4.1x
Corporate
   FFO/Corporate Debt             13.9                         %                                      16.4   %
 (1) NRG metrics are based on midpoint of guidance and pro forma metrics reflects impact of transaction
     benefits.

                 •       Cleaner energy

                 The combined company will continue the work of NRG and GenOn in
                 reducing emissions from their existing conventional fleets. NRG and
                 GenOn combined have invested over $3 billion since 2000 to reduce
                 emissions. This investment has helped NRG reduce SO2 emissions by
                 56% and NOx emissions by 64% below 2000 levels and GenOn reduce
                 SO2 emissions by 90% and NOx emissions by 78% below 1990 levels.

                 In addition, the combined company will continue to grow NRG’s industry-
                 leading portfolio of solar generating facilities, its eVgo electric vehicle
                 charging network and its other clean energy products and services. In
                 addition, all previously announced plant retirements and deactivations will
                 be completed on schedule.

        Financial Terms

        GenOn shareholders will receive 0.1216 of a share of NRG common stock in
        exchange for each GenOn share of common stock. Based on NRG’s and GenOn’s
        closing share prices on July 20, the transaction represents a 20.6% premium to
        GenOn’s shareholders.

        Following completion of the transaction, NRG shareholders will own 71% of the
        combined company and GenOn shareholders will own 29%.

        Financial Summary

        NRG is also announcing preliminary forward pro forma financial guidance for the
        combined company for 2013 and 2014. This includes:




                                                      22
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 24 of 46



                                                          2013                  2014
             Adjusted EBITDA                      $2,535-$2,735 million $2,630-$2,830 million
             Free Cash Flow *before investments   $825-$1,025 million   $845-$1,045 million

       The above pro forma financial guidance includes updated guidance for GenOn as
       follows:

       •        2013 adjusted EBITDA guidance raised from $669 million to $687 million

       •        2014 adjusted EBITDA guidance provided of $730 million

       Additionally, GenOn announced today that it is raising its full year guidance for
       2012 adjusted EBITDA from $446 to $467 million.

       Board Structure, Management and Headquarters

       After closing, the Board of Directors will have 16 members with 12 members
       from the NRG Board and four joining from the GenOn Board. Howard Cosgrove
       will remain Chairman of the NRG Board and GenOn Chairman and CEO Edward
       R. Muller will join the NRG Board as Vice Chairman.

       In addition to David Crane continuing to serve as Director, President and CEO,
       Kirk Andrews will remain as Chief Financial Officer and Mauricio Gutierrez will
       serve as Chief Operating Officer of the combined company. Anne Cleary of
       GenOn will become the Chief Integration Officer of NRG at closing.

       John Ragan and Lee Davis, both currently of NRG, will act as Regional
       Presidents of the Gulf Coast and East regions, respectively, and John Chillemi of
       GenOn will become Regional President of the West region, at which time Tom
       Doyle will focus his efforts as President of NRG Solar.

       The combined company will be dual headquartered, with financial and
       commercial headquarters in Princeton and operational headquarters in Houston.

       76.      While the press release announcing the Proposed Transaction suggests that the

premium provided under the Merger Agreement is generous, NRG’s offer of approximately

$2.19 per share (based on the closing price of NRG stock on July 20, 2012 the last day before the

deal was announced) does not adequately reflect GenOn’s true worth as a takeover candidate.

       77.      As indicated in the Company’s recent financial results and in management’s

recent comments, GenOn is positioned for long-term growth. The inadequate consideration

agreed to in the Proposed Transaction calls into question the effectiveness of the Individual



                                                   23
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 25 of 46




Defendants in securing a transaction that adequately captures the true value of the Company for

its shareholders.

       78.     Prior to the announcement of the Proposed Transaction, at least two analysts set

the price target for GenOn stock at or above $4.00 per share. Brandon Blossman, an analyst at

Tudor Pickering & Co. set the price target at $4.50 per share. On July 20, 2012, a few days

before the deal’s announcement, Brian J. Russo, an analyst at Ladenburg Thalmann & Co., set

GenOn’s stock price target at $4.00 per share.

       79.     Moreover, despite agreeing to a stock-for-stock deal, the Board agreed to a fixed

exchange ratio rather than negotiate a collar provision to protect GenOn shareholders in the event

that NRG’s share price plummets or GenOn’s share price surges.

                              Defendants’ Deficient Disclosures

       80.     On August 15, 2012, NRG filed a materially misleading Preliminary Proxy with

the SEC in connection with the Proposed Transaction. The Preliminary Proxy fails to provide

the Company’s public shareholders with material information and/or provides them with

materially misleading information, thereby rendering the shareholders unable to make an

informed decision regarding whether or not to vote in support of the Proposed Transaction.

       81.     Specifically, as discussed below, the Preliminary Proxy fails to disclose certain

projections, key inputs and multiples relied upon and observed by the Company’s financial

advisor, JP Morgan, and NRG’s financial advisors, Credit Suisse and Morgan Stanley, so that

shareholders can properly assess the credibility of the various analyses performed by the

advisors, particularly JP Morgan’s opinion, which was relied upon by the Board in

recommending the Proposed Transaction.




                                                 24
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 26 of 46




       JP Morgan’s Opinion

       82.     With respect to JP Morgan’s Discounted Cash Flow (“DCF”) Analysis of GenOn,

the Preliminary Proxy fails to disclose the following material facts:

               (a)     Whether JP Morgan treated stock-based compensation as a cash or non-

       cash expense;

               (b)     The individual implied present values of GenOn’s: (i) unlevered cash

       flows and terminal value, (ii) environmental capital expenditures for the years 2018

       through 2021; (iii) out-of-the-money gas transportation contracts; (iv) potential net

       operating losses (“NOLs”) and other tax benefits; and (iv) operating leases;

               (c)     JP Morgan’s basis for selecting the range of terminal value multiples of

       7.5x to 8.5x to GenOn’s estimated terminal year Open EBITDAR, which value was used

       by JP Morgan to calculate the range of terminal values for GenOn; and

               (d)     The inputs and assumptions used by JP Morgan to derive the range of

       discount rates of 8.5% to 9.5%.

       83.     With respect to JP Morgan’s DCF Analysis of NRG’s “generation” business unit,

the Preliminary Proxy fails to disclose the following material facts:

               (a)     The range of implied present values of NRG’s generation business unit;

               (b)     JP Morgan’s basis for selecting the range of terminal value multiples of

       7.5x to 8.5x to NRG’s estimated terminal year Open EBITDAR, which was used by JP

       Morgan to calculate the range of terminal values for NRG’s generation business unit; and

               (c)     The inputs and assumptions used by JP Morgan to derive the range of

       discount rates of 7.5% to 8.5% used to value NRG’s generation business unit.




                                                25
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 27 of 46




       84.     With respect to JP Morgan’s DCF Analysis of NRG’s “retail” business unit, the

Preliminary Proxy fails to disclose the following material facts:

               (a)     The range of implied present values of NRG’s retail business unit; and

               (b)     JP Morgan’s basis for selecting the range of terminal value multiples of

       5.5x to 6.5x to NRG’s estimated terminal year Open EBITDAR, which was used by JP

       Morgan to calculate the range of terminal values for NRG’s retail business unit; and

               (c)     The inputs and assumptions used by JP Morgan to derive the range of

       discount rates of 8.75% to 10.25% used to value NRG’s retail business unit.

       85.     With respect to JP Morgan’s DCF Analysis of NRG’s “solar” business unit, the

Preliminary Proxy fails to disclose the following material facts:

               (a)     The range of implied present values of NRG’s solar business unit;

               (b)     The inputs and assumptions used by JP Morgan to derive the range of

       discount rates of 8.5% to 9.5% used to value NRG’s solar business unit.

       86.     With respect to JP Morgan’s DCF Analysis of NRG’s consolidated business, the

Preliminary Proxy fails to disclose the following material facts:

               (a)     The net present value of NRG’s (i) estimated 2017 environmental capital

       expenditures; (ii) certain recoveries of capital expenditures from co-ops after 2016 net of

       taxes; and (iii) net operating loss carryforwards; and

               (b)     Whether JP Morgan treated stock-based compensation in this Analysis as

       a cash or non-cash expense.

       87.     With respect to the Other Factors considered by JP Morgan in its opinion to the

Board, the Preliminary Proxy fails to disclose the following material facts:




                                                26
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 28 of 46




               (a)     The Enterprise Value / LTM Adjusted EBITDA multiples for each of the

       eight precedent transactions selected by JP Morgan in that analysis; and

               (b)     The selected financial metrics and the specific contributions of value to

       the combined company that was considered by JP Morgan in its opinion.

       88.     The Preliminary Proxy also fails to disclose the services JP Morgan or its

affiliates is currently providing to each of the parties to the Proposed Transaction, or any of their

respective affiliates, and the amount of the compensation received or expected to be received by

JP Morgan for services rendered or being rendered.

       89.     The Preliminary Proxy further fails to disclose the services rendered by JP

Morgan or its affiliates to each of the parties to the Proposed Transaction, or any of their

respective affiliates, in the two years prior to being retained by GenOn, and the compensation

received or expected to be received by JP Morgan for the services rendered.

               Credit Suisse’s Opinion

       90.     With respect to Credit Suisse’s Selected Companies Analyses, the Preliminary

Proxy fails to disclose the following material facts:

               (a)     The following multiples for each of the comparable companies selected by

       Credit Suisse in the Analyses: (i) Enterprise Value / CY2012E EBITDA; (ii) Enterprise

       Value / CY2013E EBITDA; and (iii) Enterprise Value / CY2014E EBITDA;

               (b)     The respective individual ranges of implied equity value per share from

       application of the multiples for years 2012, 2013 and 2014, derived by Credit Suisse for

       GenOn and NRG, respectively, with regard to its Analysis of each company; and

               (c)     How, if at all, Credit Suisse accounted for the value of the NOLs of

       GenOn and NRG, respectively, in performing its Analysis of each company.




                                                 27
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 29 of 46




       91.     With respect to Credit Suisse’s Selected Transactions Analysis, the Preliminary

Proxy fails to disclose the following material facts:

               (a)     The Enterprise Value / LTM EBITDA multiples for each of the

       comparable precedent transactions selected by Credit Suisse; and

               (b)     How, if at all, Credit Suisse accounted for the value of the Company’s

       NOLs.

       92.     With respect to Credit Suisse’s DCF Analysis of NRG, the Preliminary Proxy

fails to disclose the following material facts:

               (a)     The definition of unlevered free cash flow;

               (b)     Whether Credit Suisse treated stock-based compensation as a cash or non-

       cash expense;

               (c)     The individual implied present values of NRG’s: (i) unlevered cash flows

       and terminal value, (ii) net operating loss carryforwards and other tax benefits; and

       (iii) levered cash distributions and potential tax benefits that the Company’s solar

       business was forecasted to generate during fiscal years ending December 31, 2013,

       through December 31, 2044;

               (d)     The inputs and assumptions used by Credit Suisse to derive the range of

       discount rates of 7.0% to 8.5%; and

               (e)     The inputs and assumptions used by Credit Suisse to derive the range of

       discount rates of 14.0% to 16.0% used to value NRG’s solar business.

       93.     With respect to Credit Suisse’s DCF Analysis of GenOn, the Preliminary Proxy

fails to disclose the following material facts:

               (a)     The definition of unlevered free cash flow;




                                                  28
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 30 of 46




               (b)     Whether Credit Suisse treated stock-based compensation as a cash or non-

       cash expense;

               (c)     The individual implied present values of GenOn’s: (i) unlevered cash

       flows and terminal value, (ii) environmental capital expenditures; (iii) potential NOLs

       and other tax benefits; and (iv) operating leases; and

               (d)     The inputs and assumptions used by Credit Suisse to derive the range of

       discount rates of 8.5% to 9.5%.

       94.     The Preliminary Proxy also fails to disclose the services Credit Suisse or its

affiliates is currently providing to each of the parties to the Proposed Transaction, or any of their

respective affiliates, and the amount of the compensation received or expected to be received by

Credit Suisse for services rendered or being rendered.

       95.     The Preliminary Proxy further fails to disclose the services rendered by Credit

Suisse or its affiliates to each of the parties to the Proposed Transaction, or any of their

respective affiliates, in the two years prior to being retained by NRG, and the compensation

received or expected to be received by Credit Suisse for the services rendered.

       Morgan Stanley’s Opinion

       96.     With respect to Morgan Stanley’s Selected Public Companies Analyses, the

Preliminary Proxy fails to disclose how, if at all, Morgan Stanley accounted for the value of

GenOn’s and NRG’s respective NOLs in performing its Analysis of each company.

       97.     With respect to Morgan Stanley’s Selected Precedent Transactions Analysis and

Premiums Paid, the Preliminary Proxy fails to disclose the following material facts:




                                                 29
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 31 of 46




               (a)     The following multiples for each of the comparable companies selected by

       Morgan Stanley: (i) Aggregate Value / FY+1 Adjusted EBITDA; and (ii) Aggregate

       Value / FY+2 Adjusted EBITDA;

               (b)     Whether Morgan Stanley selected and applied multiples to GenOn’s

       calendar year 2014 estimated adjusted EBITDA; and

               (c)     How, if at all, Morgan Stanley accounted for the value of the Company’s

       NOLs.

       98.     With respect to Morgan Stanley’s DCF Analysis of NRG, the Preliminary Proxy

fails to disclose the following material facts:

               (a)     The definition of unlevered free cash flow;

               (b)     Whether Morgan Stanley treated stock-based compensation i as a cash or

       non-cash expense;

               (c)     The individual implied present values of NRG’s: (i) unlevered cash flows

       and terminal value, (ii) net operating loss carryforwards and other tax benefits; and

       (iii) levered cash distributions and potential tax benefits that the Company’s solar

       business;

               (d)     The inputs and assumptions used by Morgan Stanley to derive the range of

       discount rates of 7.0% to 8.5%; and

               (e)     The inputs and assumptions used by Morgan Stanley to derive the

       discount rate of 15.0% used to value NRG’s solar business.

       99.     With respect to Morgan Stanley’s DCF Analysis of GenOn, the Preliminary Proxy

fails to disclose the following material facts:

               (a)     The definition of unlevered free cash flow;




                                                  30
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 32 of 46




               (b)     Whether Morgan Stanley treated stock-based compensation as a cash or

       non-cash expense;

               (c)     The individual implied present values of GenOn’s: (i) unlevered cash

       flows and terminal value, and (ii) net operating loss carryforwards and other tax benefits;

       and

               (d)     The inputs and assumptions used by Morgan Stanley to derive the range of

       discount rates of 8.5% to 9.5%.

       100.    The Preliminary Proxy also fails to disclose the services Morgan Stanley or its

affiliates is currently providing to each of the parties to the Proposed Transaction, or any of their

respective affiliates, and the amount of the compensation received or expected to be received by

Morgan Stanley for services rendered or being rendered.

       101.    The Preliminary Proxy further fails to disclose the services rendered by Morgan

Stanley or its affiliates to each of the parties to the Proposed Transaction, or any of their

respective affiliates, in the two years prior to being retained by NRG, and the compensation

received or expected to be received by Morgan Stanley for the services rendered.

       NRG Management’s Financial Forecasts

       102.    With regard to the financial projections provided by NRG’s management to and

relied upon by Credit Suisse and Morgan Stanley in connection with their respective analyses,

the Preliminary Proxy fails to disclose the following material items for fiscal years 2013 through

2016 (unless otherwise indicated):

               (a)     Revenue, on a consolidated basis, as well as for each of NRG’s three

       business units (generation, retail, and solar);

               (b)     Adjusted EBITDA for each of NRG’s three business units;




                                                 31
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 33 of 46




               (c)       EBIT (or D&A) for each of NRG’s three business units;

               (d)       Taxes (or tax rate);

               (e)       Stock-based compensation expense;

               (f)       Changes in net working capital for each of NRG’s three business units;

               (g)       Capital expenditures for each of NRG’s three business units;

               (h)       Unlevered free cash flow for each of NRG’s three business units;

               (i)       Environmental capital expenditures;

               (j)       NOLs and other tax benefits; and

               (k)       Levered cash distributions and potential tax benefits from the Company’s

       solar business (through 2044).

       103.    With regard to the financial projections provided by NRG’s management to and

adjusted by GenOn, and relied upon by GenOn’s financial advisor, JP Morgan, in connection

with its analyses, the Preliminary Proxy fails to disclose the following material items for fiscal

years 2013 through 2016 (unless otherwise indicated):

               (a)       Revenue, on a consolidated basis, as well as for each of NRG’s three

       business units;

               (b)       Adjusted EBITDA for each of NRG’s three business units;

               (c)       EBIT (or D&A) for each of NRG’s three business units;

               (d)       Taxes (or tax rate);

               (e)       Stock-based compensation expense;

               (f)       Changes in net working capital for each of NRG’s three business units;

               (g)       Capital expenditures for each of NRG’s three business units;

               (h)       Unlevered free cash flow for each of NRG’s three business units;




                                                 32
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 34 of 46




              (i)     Environmental capital expenditures;

              (j)     NOLs and other tax benefits; and

              (k)     Levered cash distributions and potential tax benefits from the Company’s

       solar business (through 2044).

       GenOn Management’s Financial Forecasts

       104.   With regard to the financial projections provided by GenOn’s management to and

relied upon by JP Morgan in connection with its analyses, the Preliminary Proxy fails to disclose

the following material items for fiscal years 2013 through 2016:

              (a)     Revenue;

              (b)     EBIT (or D&A);

              (c)     Stock-based compensation expense;

              (d)     Changes in net working capital;

              (e)     Unlevered free cash flow;

              (f)     Environmental capital expenditures;

              (g)     NOLs and other tax benefits;

              (h)     Out-of-the-money gas transportation contracts; and

              (i)     Operating leases.

       105.   With regard to the financial projections provided by GenOn’s management to and

adjusted by NRG, and relied upon by NRG’s advisors, Credit Suisse and Morgan Stanley, in

connection with their respective analyses, the Preliminary Proxy fails to disclose the following

material items for fiscal years 2013 through 2016:

              (a)     Revenue;

              (b)     EBIT (or D&A);




                                               33
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 35 of 46




               (c)    Stock-based compensation expense;

               (d)    Changes in net working capital;

               (e)    Unlevered free cash flow;

               (f)    Environmental capital expenditures;

               (g)    NOLs and other tax benefits;

               (h)    Out-of-the-money gas transportation contracts; and

               (i)    Operating leases.

       The Sales Process and Other Deficient Disclosures

       106.    The Preliminary Proxy fails to disclose the basis for the Board’s decision in

March 2012 to focus on accomplishing a deal with NRG to the exclusion of all others because a

business combination with NRG would be “the most realistic.” In addition, the Preliminary

Proxy fails to disclose whether other potential buyers or strategic alternatives were considered by

the Board prior to authorizing GenOn’s management and advisors to attempt to sell the Company

exclusively to NRG.

       107.    The Preliminary Proxy also fails to disclose the process under which the Board

determined to retain JP Morgan as its financial advisor in connection with a potential sale of the

Company and whether any other financial advisors were considered.

                        Coercive Nature of the Proposed Transaction

       108.    The Individual Defendants have breached their fiduciary duties to the public

shareholders by failing to protect newly formed GenOn and failing to protect the interests of the

public shareholders from the coercive nature of the Proposed Transaction

       109.    In addition to concerns regarding the consideration offered to GenOn shareholders

in the Proposed Transaction, to the detriment of the Company’s shareholders, the terms of the




                                                34
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 36 of 46




Merger Agreement substantially favor NRG, and work to unreasonably dissuade other bidders

from stepping forward with superior alternative offers.

       110.      The Merger Agreement includes a “Non-Solicitation” provision which impairs the

ability of the GenOn Board to secure an offer that adequately captures the inherent value of the

Company and adequately compensates GenOn shareholders for their ownership interest in the

Company. Specifically, section 6.4(a) of the Merger Agreement expressly prohibits GenOn and

its representatives from, among other things, directly or indirectly: (i) soliciting, initiating, or

taking any action to encourage or facilitate the making, submission or announcement of, any

inquiry, discussion, request, offer or proposal that constitutes, or is reasonably likely to lead to an

alternate acquisition proposal; (ii) furnishing any non-public information regarding the Company

to any person in connection with, or in response to, or which would reasonably be expected to

lead to an acquisition proposal; or (iii) engaging or participating in any discussions or

negotiations with any third party with respect to any acquisition proposal; or (iv) entering into

any letter of intent, term sheet, or agreement relating to an acquisition proposal.

       111.      Moreover, even if the Company receives an unsolicited acquisition proposal,

under Section 6.4(a) of the Merger Agreement, before it could respond by furnishing information

or enter into discussions or negotiations with the competing bidder, the Company must first:

(i) determine in good faith, after consultation with its outside legal counsel and its financial

advisor that the proposal is reasonably likely to result in an acquisition proposal superior to the

Proposed Transaction (“Superior Offer”); (ii) that failure to take such action would be

inconsistent with the Board’s fiduciary duties; (iii) enter into a confidentiality agreement with the

alternate bidder; and (iv) provide to NRG with notice that it made such a good faith

determination.




                                                  35
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 37 of 46




       112.    In addition, Section 6.4(b) requires the Company to notify NRG within 24 hours,

in writing, of its receipt of: (i) any acquisition proposal; (ii) inquiry or request for information in

connection with an acquisition proposal, or discussions; (iii) discussions or negotiations to be

entered into by the Company in connection or response to an acquisition proposal. Moreover,

such notice must include the identity of the alternate bidder, a copy of the alternate proposal and

related draft agreements, a summary of material oral communications or any orally

communicated acquisition proposal, and the Company must update NRG within 24 hours of any

changes to any financial or other material terms in connection with any alternate acquisition

proposal.

       113.    Defendants have also agreed to a termination fee, which may require GenOn to

pay a fee of $60 million (the “Termination Fee”) to NRG in the event that, inter alia, GenOn

accepts a superior competing proposal.

       114.    In the event the Company receives an unsolicited Superior Proposal, Section

6.4(e) of the Merger Agreement prevents the Company’s Board from accepting the Superior

Proposal and terminating the Proposed Transaction or changing its recommendation to Company

stockholders concerning the Proposed Transaction, unless, inter alia, the Board: (i) determines in

good faith (after consultation with the financial advisor) that the proposal constitutes a Superior

Offer and (after consultation with outside counsel) that the failure to do so would reasonably be

expected to be inconsistent with its fiduciary duties to the stockholders of the Company;

(ii) provides NRG with at least four business days prior written notice of its intent to accept a

Superior Offer and terminate the Proposed Transaction in order to allow NRG to renegotiate and

make a counteroffer, and if any material revisions are made to the Superior Proposal during the




                                                  36
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 38 of 46




four-day “Notice Period,” the Company must deliver a new written notice to NRG and allow it a

three-day “Notice Period”; and (iv) pays the hefty Termination Fee to NRG.

                       GenOn Insiders Receive Special Benefits Not
                      Available to the Company’s Public Shareholders

       115.   Each of the Individual Defendants and the Company’s executive officers are

conflicted and in breach of their fiduciary duties, because they will receive benefits from the

Proposed Transaction not available to Plaintiff and other public shareholders of GenOn.

       116.   First, section 4.3 of the Merger Agreement provides for “accelerated vesting” and

an opportunity to cash out of all Company options and equity awards – i.e., all options and RSUs

held by directors and officers (except for those granted in 2012) will fully vest upon the

consummation of the Proposed Transaction.        Thus, the Individual Defendants will receive

compensation for restricted securities that would otherwise be unmarketable.

       117.   For example, according to the Preliminary Proxy, as a result of the accelerated

vesting of options and RSUs solely by reason of the closing of the Proposed Transaction,

Defendant Muller is expected to receive approximately $1.4 million in value for these otherwise

unvested options and RSUs based upon the value of NRG stock being equaled to $19.33 per

share (however, these interests will likely be valued much higher as NRG stock has consistently

been trading above $20.00 per share since August 10, 2012 – hitting a recent post-deal

announcement high of $22.92 per share on August 21, 2012).

       118.   As reflected supra, as part of the Proposed Transaction, Defendants agreed that

Muller and three other Individual Defendants will join the NRG Board after consummation of

the Proposed Transaction. Moreover, Cleary, currently GenOn’s Senior Vice Present of Asset

Management is expected to join the post-merger NRG as its Chief Integration Officer, and




                                               37
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 39 of 46




Gaudette, currently GenOn’s Senior Vice President and Chief Commercial Officer is expected to

join the post-merger NRG as its Senior Vice President, Product Development and Origination.

       119.    Furthermore, upon the consummation of the Proposed Transaction, the executive

officers of the Company will likely receive millions of dollars in change-in-control and golden

parachute payments. Notably, notwithstanding his expected appointment as the Vice Chairman

of the post-merger NRG, Muller may receive over $15 million in “golden parachute”

compensation, including the value of his unvested options and RSUs that would be subject to

accelerated vesting upon qualifying termination of his employment within two years following

the consummation of the Proposed Transaction. Notably, Muller’s Double-Trigger Accelerated

Interests as valued at approximately $2.4 million according to the Preliminary Proxy is based

upon the assumption that, at the time of conversion, the value of NRG stock will equal $19.33

per share, but the value of these interests is likely to be much higher in light of the recent trading

price of NRG stock.

       120.    Finally, pursuant to section 6.11 of the Merger Agreement, NRG must indemnify

the Company’s directors, officers, employees, among others, for a period of six years following

the close of the Proposed Transaction for all liabilities or claims related to their service or

employment with GenOn prior to the closing of the Proposed Transaction.                 The Merger

Agreement requires NRG to obtain a single premium directors’ and officers’ liability insurance

policy (“D&O Insurance”), or “tail policy,” offering coverage at least as favorable as the

Company’s existing D&O Insurance.




                                                 38
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 40 of 46




                                 FIRST CAUSE OF ACTION

                     Violation of Section 14(a) of the Exchange Act and
                            Rule 14a-9 Promulgated Thereunder
                  (Brought Individually Against the Individual Defendants)

       121.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       122.    Plaintiff brings this claim individually and not on behalf of the Class.

       123.    Defendants have issued the Preliminary Proxy with the intention of soliciting

shareholder support of the Proposed Transaction.

       124.    Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act provides that a proxy statement shall not contain “any statement which, at the time and in the

light of the circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make the statements

therein not false or misleading.” 17 C.F.R. §240.14a-9.

       125.    Specifically, the Preliminary Proxy violates Section 14(a) and Rule 14a-9 because

it omits material facts, including those set forth above. Moreover, in the exercise of reasonable

care, Defendants should have known that the Preliminary Proxy is materially misleading and

omits material facts that are necessary to render them non-misleading.

       126.    The misrepresentations and omissions in the Proxy are material to Plaintiff, and

Plaintiff will be deprived of his entitlement to cast a fully informed vote if such

misrepresentations and omissions are not corrected prior to the vote on the Proposed Transaction.




                                                39
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 41 of 46




                                SECOND CAUSE OF ACTION

                       Violation of Section 20(a) of the Exchange Act
                  (Brought Individually Against the Individual Defendants)

       127.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       128.    Plaintiff brings this claim individually and not on behalf of the Class.

       129.    The Individual Defendants acted as controlling persons of GenOn within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of GenOn, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Preliminary Proxy

filed with the SEC, they had the power to influence and control and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiffs contend are false and misleading.

       130.    Each of the Individual Defendants was provided with or had unlimited access to

copies of the Preliminary Proxy and other statements alleged by Plaintiffs to be misleading prior

to and/or shortly after these statements were issued and had the ability to prevent the issuance of

the statements or cause the statements to be corrected.

       131.    In particular, each of the Individual Defendants had direct and supervisory

involvement in the operations of the Company, and, therefore, is presumed to have had the

power to control or influence the particular transactions giving rise to the securities violations as

alleged herein, and exercised the same. In addition, as the Preliminary Proxy sets forth at length,

and as described herein, the Individual Defendants were all involved in negotiating, reviewing

and approving the Proposed Transaction. The Preliminary Proxy purports to describe the various

issues and information that they reviewed and considered, descriptions which must have had



                                                 40
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 42 of 46




input from the Individual Defendants. The Preliminary Proxy at issue contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction.

They were thus directly involved in the making of this document.

       132.    By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       133.    As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9,

by their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these Individual Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a

direct and proximate result of the Individual Defendants’ conduct, GenOn and its shareholders

will be irreparably harmed.

                                 THIRD CAUSE OF ACTION

          Claim for Breach of Fiduciary Duties Against the Individual Defendants

       134.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       135.    Plaintiff brings this claim on behalf of himself and the Class.

       136.    By the acts, transactions and courses of conduct alleged herein, the Individual

Defendants are attempting to unfairly deprive Plaintiff and other members of the Class of the

true value of their investment in GenOn.

       137.    By the acts, transactions and courses of conduct alleged herein, the Individual

Defendants have violated their fiduciary duties by contractually preventing themselves from

obtaining higher offers from other interested buyers and attempting to unfairly deprive Plaintiff

and other members of the Class of the true value of their investment in GenOn.




                                                41
     Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 43 of 46




        138.    By the acts, transactions and courses of conduct alleged herein, the Individual

Defendants have failed to exercise ordinary care and diligence in the exercise of their fiduciary

obligations toward Plaintiff and the Class.

        139.    As demonstrated by the allegations above, the Individual Defendants have

breached their duties of care, loyalty, candor, good faith, and independence owed to the public

shareholders of GenOn because, among other reasons, they have failed to take steps to maximize

the value of GenOn and act in the best interests of its public shareholders and/or are attempting

to improperly put their personal interests ahead of the interests of GenOn shareholders.

        140.    As a result of the actions of the Individual Defendants, Plaintiff and the Class will

suffer irreparable injury in that they will not receive their fair portion of the value of GenOn’s

assets and businesses and will be prevented from obtaining fair value for their investment.

        141.    The Individual Defendants have capitulated to NRG’s self-serving importuning

and are not acting in good faith toward Plaintiff and the other members of the Class. Unless the

Individual Defendants are enjoined by the Court, they will continue to breach their fiduciary

duties owed to Plaintiff and the members of the Class, to the irreparable harm of the members of

the Class.

        142.    Plaintiff and the other Class members have no adequate remedy at law. Only

through the exercise of this Court’s equitable powers can Plaintiff and the Class be fully

protected from the immediate and irreparable injury which the Individual Defendants’ actions

threaten to inflict.




                                                 42
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 44 of 46




                                FOURTH CAUSE OF ACTION

               Claim for Breach of Candor Against the Individual Defendants

       143.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       144.    Plaintiff brings this claim on behalf of himself and the Class.

       145.    The fiduciary duties of the Individual Defendants in the circumstances of the

Proposed Transaction require them to disclose to Plaintiff and the Class all information material

to the decisions confronting GenOn’s shareholders.

       146.    As set forth above, the Individual Defendants have breached their fiduciary duty

through materially inadequate disclosures and material disclosure omissions.

       147.    As a result, Plaintiff and the other Class members are being irreparably harmed.

       148.    Plaintiff and the other Class members have no adequate remedy at law.

                                 FIFTH CAUSE OF ACTION

                    Claim for Aiding and Abetting Against All Defendants

       149.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       150.    Plaintiff brings this claim on behalf of himself and the Class.

       151.    Defendants have acted and are acting with knowledge of, or with reckless

disregard to, the fact that the Individual Defendants are in breach of their fiduciary duties to

GenOn’s public shareholders, and have participated in such breaches of fiduciary duties.

       152.    Defendants have knowingly aided and abetted the Individual Defendants’

wrongdoing alleged herein. In so doing, Defendants rendered substantial assistance in order to

effectuate the Merger Agreement in breach of the Individual Defendants’ fiduciary duties.




                                                43
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 45 of 46




       153.    Plaintiff and the other Class members have no adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment as follows:

       A.      Declaring this action to be a proper class action and certifying Plaintiff as Class

representative and Plaintiff’s counsel as Class counsel;

       B.      Declaring that the Preliminary Proxy is materially misleading and contains

omissions of material fact in violation of Section 14(a) of the Exchange Act and Rule 14a-9

promulgated thereunder;

       C.      Declaring that Defendants have breached their fiduciary duties, or aided and

abetted such breach, to Plaintiff and the Class;

       D.      Declaring that the Merger Agreement and Proposed Transaction were entered in

breach of Defendants’ fiduciary duties and is therefore unlawful and unenforceable;

       E.      Preliminarily and permanently enjoining Defendants and all those acting in

concert with them from consummating the Proposed Transaction unless the Company makes full

and necessary disclosure to GenOn public shareholders and until such time, as any, that the

Individual Defendants have adequately undertaken all appropriate and available methods to

maximize shareholder value;

       F.      In the event that the Proposed Transaction is consummated, rescinding it or

awarding actual and punitive damages to Plaintiff and the Class;

       G.      Awarding Plaintiff his fees and expenses in connection with this litigation,

including reasonable attorneys’ and experts’ fees and expenses;

       H.      Granting a trial by jury on all claims; and




                                                   44
    Case 4:12-cv-02257 Document 10 Filed on 09/05/12 in TXSD Page 46 of 46




       I.     Granting such other and further relief as the Court deems just and proper.

       Dated: September 5, 2012.

                                            Respectfully submitted,


                                                   /s/ Thomas E. Bilek
                                            Thomas E. Bilek
                                            State Bar No. 02313525 / SDTX Bar No. 9338
                                            THE BILEK LAW FIRM, L.L.P.
                                            808 Travis, Suite 802
                                            Houston, TX 77002
                                            (713) 227-7720
                                            FAX (713) 227-9404

                                            Attorneys for Plaintiff

OF COUNSEL:

Joseph H. Weiss*
Julia J. Sun*
Joshua M. Rubin*
WEISS LAW L.L.P.
1500 Broadway, 16th Floor
New York, NY 10036
Tel: (212) 682-3025
Fax: (212) 682-3010
*Pro Hac Vice admission to be sought.




                                CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was filed via the Live District
CM/ECF System on September 5, 2012, which caused an electronic copy of same to be served
automatically upon counsel of record.


                                                 /s/ Thomas E. Bilek
                                            Thomas E. Bilek




                                              45
